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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION – at Cincinnati

HUNTER DOSTER, et al.,                        :       Case No. 1:22-cv-00084-MWM

       Plaintiffs                             :

v.                                            :

FRANK KENDALL, et al.,                        :

       Defendants.                            :

                                     NOTICE OF APPEAL
       Plaintiffs Hunter Doster, Joe Dills, Jason Anderson, McKenna Colantanio, Paul Clement,

Benjamin Leiby, Brett Martin, Connor McCormick, Heidi Moster, Peter Norris, Patrick Pottinger,

Alex Ramsperger, Daniel Reineke, Benjamin Rinaldi, Douglas Ruyle, Christopher Schuldes,

Edward Stapanon, III, and Adam Theriault, on behalf of themselves, and as class representatives

on behalf of others similarly situated and the class as certified, hereby give notice of their appeal

of the opinion and judgment entered March 18, 2024 (Doc. 127, Doc. 128), to the United States

Court of Appeals for the Sixth Circuit, pursuant to FRAP 4(a)(1)(B).

Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
I certify that I have served a copy of the foregoing upon all counsel of record this 8 day of May,
2024, via CM/ECF.
/s/ Christopher Wiest___________
